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                            Exhibit 24
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Fri, May 3, 2024 at 6:37 PM
  Subject: BruinALERT: Campus Activity Updates (May 3rd)
  To:                                  <                                    >



  BruinALERT: Campus operations will be limited through the weekend, and are expected to
  resume in full on Monday. Classes continue remote through the weekend. Work, events and
  research activities are encouraged to remain remote or be rescheduled wherever possible
  during that period.

  The hospital and health system, other clinical operations, and housing and hospitality
  facilities remain open.

  Law School exams will continue as scheduled. UCLA Extension’s Gayley Center location
  will be closed through Sunday. UCLA Extension classes scheduled to be held in person in
  any Westwood or UCLA campus location have been moved to live-online format through
  Sunday. Impacted students should check their Canvas portal.

  A law enforcement presence continues to be stationed around campus to help promote
  safety. Student Affairs has staff on campus to support our students.

  Please continue to avoid the area of Royce Quad.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




                       SHEMUELIAN DECLARATION EXHIBIT 24
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